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                       UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF CALIFORNIA

IN RE EX PARTE APPLICATION OF
CREDIT SUISSE VIRTUOSO SICAV-SIF
                                                Case No. 21-mc-80308-JCS
IN RESPECT OF THE SUBFUND
CREDIT SUISSE (LUX) SUPPLY CHAIN
FINANCE FUND


               DECLARATION OF RICHARD DANIEL HACKER Q.C.



       I, RICHARD DANIEL HACKER Q.C., pursuant to 28 U.S.C. § 1746, hereby declare

under penalty of perjury under the laws of the United States, as follows:

       1.      I submit this declaration in support of SB Investment Advisers (US) Inc.

(“SBIA US” or “Respondent”)’s Motion to Vacate the January 4, 2022 Order and Quash the

Subpoena (“Motion”).

       2.      Unless otherwise indicated, all facts set out in this declaration are based upon:

(a) my personal knowledge; (b) my review of relevant documents, including the subpoena;

and (c) information supplied to me by the Respondent or professionals retained by it.

       3.      All exhibits attached hereto are true and accurate copies, or true and accurate

excerpts of those copies.



                         I.   BACKGROUND AND QUALIFICATIONS

       4.      I hold law degrees from the University of Cambridge and the University of

Brussels and was awarded a Wiener Anspach Scholarship (by the University of Cambridge)

and a Hardwicke Scholarship and Student of the Year Prize (by Lincoln’s Inn). I was called

to the Bar of England and Wales in 1977 (and to the Bar of the British Virgin Islands (“BVI”)

in 2002). I was appointed a Queen’s Counsel in 1998, in recognition of a high level of

expertise in my chosen field of practice. I am the second most senior member of South


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Square Chambers, which is generally regarded as the pre-eminent set of English b arrister ’s

chambers in the field of insolvency law.

       5.     For over 40 years, my practice has involved specialisation in a range of areas

of commercial law, including contentious and non-contentious insolvency work and

jurisdictional disputes. I have appeared as Leading Counsel in the English courts and the

courts of a range of other jurisdictions (including BVI, the Cayman Islands, Bermuda, St

Kitts & Nevis and the Isle of Man) up to the highest appellate level (at that level, most

recently in 2020 in the Privy Council in a winding-up matter). I have given expert evidence

on English law (or on legal systems deriving from English law) in the courts of New York

and New Hampshire, Singapore, Belgium, Italy, Spain and Scotland.

       6.     Claims to set aside suspect transactions under the UK Insolvency Act 1986

(“IA1986”) were part of the bread and butter of my practice over a number of years (e.g. I

appeared as Counsel in the Court of Appeal in the National Bank of Kuwait v. Menzies case

mentioned below) and I am familiar with the English law issues which arise on the Motion .

       7.     A copy of my resume is attached hereto as Exhibit 1.



                              II. EXECUTIVE SUMMARY

       8.     I have been asked to opine on the following three questions regarding the

proposed English proceedings described in the Declaration of Neil Anthony Golding

executed on 23 December 2021 (respectively “423 Claim” and “Golding 1”), in aid of which

the 1782 Application of the Petitioner was made:

       (a)    Question 1 Is the Petitioner likely to get the leave (permission) of the English

              court which it requires to bring the 423 Claim (“423 Leave”) ?

       (b)    Question 2 If the Petitioner were to be granted 423 Leave, is it likely that

              they would be able to obtain the necessary leave to serve those proceedings on


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              the proposed defendants out of the jurisdiction of the English court (“Leave to

              Serve Out”)?

       (c)    Question 3 Does the Petitioner need the requested documents to commence

              the 423 Claim, and in particular to produce a sufficiently particularised claim?

       9.     For the reasons explained in greater detail below, my responses to those three

questions are, in summary, as follows:

       (a)    The 423 Claim suffers from flaws which mean that it is highly unlikely that

              423 Leave would be granted: see Part V below.

       (b)    As 423 Leave is unlikely to be granted, Question 2 is hypothetical. However,

              to the extent that 423 Leave were granted and the question is not hypothetical,

              it is my opinion that it is unlikely that the Petitioner would succeed in

              obtaining Leave to Serve Out: see Part VI below.

       (c)    The Petitioner does not require access to any documents which relate only to

              the state of mind of the “SoftBank Defendants” (as defined in the 1782

              Application) in order to commence the threatened 423 Claim and/or to

              produce a sufficiently particularised claim: see Part VII below.

       10.    For the avoidance of doubt, to the extent that my comments below add ress the

merits of the 423 Claim, those comments are restricted to answering the questions on which I

have been asked to express my opinion, and do not purport to constitute a comprehensive

review of the merits of the 423 Claim.




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                   III. OVERVIEW OF RELEVANT BACKGROUND


A. ASSUMPTIONS AND MATERIALS REVIEWED

       11.     I have assumed, for the purposes of producing this Declaration that the facts

contained in the Declaration of Richard Charles East (“East 1”) are accurate. Save where

expressly stated otherwise, the same defined terms as used in East 1 are adopted herein.



B. THE RPA AND RELATED TRANSACTIONS

       12.     On 9 December 2019, several Katerra entities entered into the RPA with GL,

which provided a framework for the Katerra entities to sell US$440 million worth of

receivables to GL (East 1 [10]). According to East 1 [12], GL is a company incorporated in

England, which “[was] a special purpose vehicle, which operate[d] solely for the purpose of

purchasing [receivables] from [Katerra] pursuant to the [RPA] and granting [interests] in

such [receivables] to [GCUK] pursuant to the [Participation Agreement]”.

       13.     On 19 December 2019, GL entered into a Participation Agreement with

GCUK. It appears to be common ground with the Petitioner that GL then transferred its

economic interest in Katerra’s receivables to GCUK (East 1 [11] and Golding 1 [15]).

GCUK was the main trading company of the Greensill group (East 1 [20]). GCUK then

securitised the cash flows associated with Katerra’s receivables into the Katerra Notes and

sold them to the Petitioner, using the proceeds to fund GL’s acquisition of US$440 million in

receivables from Katerra. The issuer of the Katerra Notes is Hoffman S.à r.l (“Hoffman”) and

Citibank N.A, London Branch (“Citi”) acts as the Note Trustee (East 1 [13]).

       14.     The overall effect of these transactions was succinctly described by GL’s Joint

Liquidators in their motion to lift the automatic stay on Katerra before the Bankruptcy Court

in the following terms (Exhibit 25 to East 1 at [21]):




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        “GCUK subsequently assigned the rights and security interests granted to it
        under the Participation Agreement to a special purpose vehicle, Hoffman
        S.à r.l. (“Hoffman”). Hoffman, in turn, issued notes backed by the interests
        assigned to it, all of which notes were purchased by certain managed funds
        (the “Funds,” and investors in such Funds, “Fund Investors”). Accordingly,
        the Funds indirectly funded the financing arrangement reflected in the RPA
        and were the ultimate beneficiaries in the proceeds of the accounts
        receivable and all or substantially all of the collateral granted under the
        RPA and Fee Letter.” (Underlining added)

The underlined words are of particular importance in the discussion below of the application

of relevant English law provisions to the facts.



C. THE RESTRUCTURING TRANSACTION

        15.      The First Stage        On 10 November 2020, GCPL issued the CLN to SVF II

Wyatt, pursuant to which SVF II Wyatt provided US$440 million in cash to GCPL in

exchange for the right to acquire equity. Those monies were paid directly into the accounts of

GCUK, which acted as the group’s central treasury function (East 1 [20]).

        16.      On the same date, the Omnibus Deed was entered into between GCPL,

GCUK, SBG, Lex Greensill and SVF II Holdings. In Clause 2.4, the Greensill entities

acknowledged that GCPL – and not GL, Hoffman or the Petitioner - would assume all losses

in respect of the Katerra Notes and Katerra RPA. Likewise, Recital C of the Omnibus Deed

expressly states that “[a]s part of the consideration provided by Greensill in respect of the

[CLN], Greensill will assume any and all losses in respect of the Katerra Notes and the

Katerra Programme.”1 The Omnibus Deed further provided that GCPL and GCUK were

required to (and were required to procure that their subsidiaries, including GL): (a) remit any

1
    The significance of this is addressed in paragraph 9 of a Quinn Emanuel letter to Freshfields of 1 November
    2021 (exhibit 37 to East 1). The same point is also made in paragraph 4 of a further Quinn Emanuel letter t o
    Freshfields dated 30 November 2021 (exhibit 40 to East 1).



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amounts recovered from Katerra under the RPA to SVF II Holdings (Clause 3(a)); and (b)

recover from Katerra and remit to SVF II Holdings at least US$176 million by 31 December

2020 (Clause 3(c)).

       17.     The Second Stage On 1 December 2020, GL and Katerra entered into the

“Security Release Agreement” (as defined in the 1782 Application) which released liens on

assets of Katerra entities which had been offered in connection with the RPA (East 1 [2 1 (a)]

and Golding 1 [31]).

       18.     On 23 December 2020, after it had become apparent that GCUK and GL

would be unable to recover US$176 million from Katerra by 31 December 2020, GCPL,

GCUK, SBG, Lex Greensill and SVF II Holdings entered into the Amended Omnibus De ed.

This: (a) removed the obligation on GCPL and GCUK (and by extension, GL) to remit

US$176 million to SVF II Holdings by 31 December 2020; and (b) added an obligation to

transfer any equity interests received from Katerra in lieu of payment (East 1 [21(b)]). Also

on 23 December 2020, GCPL, SVF II Wyatt and SVF Wyatt (Singapore) Pte Ltd amended

the CLN to increase SVF II’s equity holding in GCPL (East 1 [21(c)]).

       19.     On 30 December 2020, GL, Katerra Cayman and Katerra, Inc entered into the

CEA, which the Petitioner seeks to impugn. GL transferred Katerra’s debts to Katerra

Cayman (which were then forgiven) and forgave Katerra Cayman’s parent guarantee in

consideration for Katerra Cayman transferring 5% of its equity to GL (East 1 [21(d)]).

       20.      On the same day, GL and SVF II Abode entered into the Transfer Agreement,

which the Petitioner also seeks to impugn. This Transfer Agreement provided that GL was to

transfer the 5% equity it received from Katerra Cayman under the CEA to SVF II Abode

(East 1 [21(e)]).




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D.   THE PETITIONER’S THREATENED CHALLENGE TO SELECTED
ELEMENTS OF THE RESTRUCTURING TRANSACTION

       (i) The 1782 Application

       21.     In its 1782 Application, the Petitioner threatened a claim in the English courts

under Section 423 of IA1986 (“Section 423”) to impugn: (a) the Security Release Agreement;

(b) the CEA; and (c) the Transfer Agreement (Golding 1 [68], referring to those three

agreements together as the “Improper Transactions”) (“423 Claim”).

       22.     As explained further below, the basis of the 423 Claim was explained in

Golding 1 in only the most exiguous terms, and there are fundamental aspects of the claim

which Golding 1 wholly fails to address.

       (ii) The LBA

       23.     On 10 February 2022, Freshfields (the English solicitors acting for the

Petitioner) sent a letter before action (“LBA”), giving formal notice of an intention to make

the 423 Claim. The letter was plainly authored by Mr Golding (see LBA [83]).

       24.     The formulation of the 423 Claim in the LBA has – without any explanation –

narrowed, and only concerns: (a) the CEA; and (b) the Transfer Agreement. This change is

reflected in a change of terminology from “Improper Transactions” to “Impugned

Transactions” (LBA [5], [51]-[52]).

       25.     Based on my many years’ experience of conducting ‘big ticket’ litigation, I

would consider it to be a near certainty that the LBA has had the benefit of significant input

from the substantial barrister team which Mr Golding indicates in Golding 1 that the

Petitioner has retained (which includes two Queen’s Counsel). Notwithstanding this, the

newly formulated 423 Claim in the LBA still has certain very obvious obstacles in its path

which the Petitioner continues to ignore.




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       (iii) The absence of a fully pleaded case

       26.       In the 1782 Application, the Petitioner stated that it intended to bring the 423

Claim in England against the SoftBank Defendants (Golding 1 [66]), if it is given leave by

the English court to do so. In a case such as this, a pleaded and particularised claim is

generally a prerequisite for the grant of such leave (see further paragraph 85 below). I note

that although Golding 1 states that, as at the end of December 2021, the claim would be ready

for filing “in the coming weeks”, no pleading showing the detail of how the 423 Claim would

be framed was made available to this court.

       27.       Despite recent receipt by the SoftBank Defendants of the LBA, draft

particulars of claim have still not been provided. I note, however, that the LBA: (a) provides

some further detail as to the elements of the 423 Claim (LBA [51]-[72]); (b) sets out the relief

which the Petitioner intends to seek (LBA [75]-[76]); (c) addresses the question of 423

Leave, albeit briefly (LBA [78]-[79]); and (d) for the first time, addresses the question of

Leave to Serve Out (LBA [77]).



E.   THE INSOLVENCIES AND RELATED PROCEEDINGS

       28.       GCUK entered administration in England on 8 March 2021, and GL entered

liquidation on 30 July 2021 (East 1 [8]). GL’s liquidators are hereafter referred to as “Joint

Liquidators” or “JLs”.

       29.       Although GCUK and Citi are listed as creditors of GL, the Petitioner is not

(East 1 [13]).

       30.       On 6 June 2021, the Katerra entities commenced Chapter 11 Cases before the

Bankruptcy Court (“Texas Action”) to market and sell their assets and conduct an orderly

wind down of their operations.




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       31.     On 7 August 2021, GL (acting by its Joint Liquidators, who the Bankruptcy

Court was informed were funded by the Petitioner), filed proofs of claim for “[n]ot less than

$440,000,000” in the Texas Action (“Proofs of Claim”). GL gave notice of 6 heads of claim ,

including: (a) a transaction at undervalue claim under Section 238 of IA1986 (“JL 238

Claim”); and (b) a claim under Section 423 (“JL 423 Claim”) (East 1 [25]).

       32.     The relief sought in the JL 238 Claim was set out in a draft pleading (“English

Pleading”) for use in the intended English action (“JL English Action”), which was produced

to the Bankruptcy Court to demonstrate to that court the nature and shape of the intended JL

English Action. The relief included the rescission and unwinding of the CEA in order to re -

establish GL’s interests under the RPA, in addition to or in the alternative to, an award of

damages (Exhibit 25 to East 1 at [34]).

       33.     The JL 423 Claim appears to have been intended to achieve the same objective

as the JL 238 Claim, and was premised on the allegation made in the Proofs of Claim that the

CEA was a transaction entered into for a consideration, the value of which, in money or

money’s worth, was significantly less than the value, in money or money’s worth, of the

consideration provided by GL.

       34.     On 31 August 2021, Katerra filed an objection to disallow and expunge the

Proofs of Claim, to which GL filed a response on 15 October 2021.

       35.     On 11 September 2021, the Joint Liquidators filed a motion to lift the Katerra

Chapter 11 automatic stay, in order to have liability in respect of the JL 238 Claim determined

in the JL English Action. The English Pleading identified SVF II Abode as an intended

defendant (East 1 [28]). At a hearing on 4 October 2021, the motion to lift the stay was

denied by the Bankruptcy Court. At that hearing, Mr Charters (one of the Joint Liquidators )

acknowledged in open court that “in essence … Credit Suisse” (i.e. the Petitioner) was

funding the Joint Liquidators’ litigation efforts (East 1 [30]).


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       36.     On 19 October 2021, Katerra filed an Amended Joint Chapter 11 Plan (“Plan”)

which was confirmed by order of the Bankruptcy Court on 21 October 2021 (East 1 [31]). As

explained in East 1 (at [31]), Katerra Cayman’s shares in Katerra Inc were extinguished by

the Plan, with the result that the 5% equity interest transferred to SVF II Holdings by GL

pursuant to the Transfer Agreement is now worthless.

       37.     On 13 December 2021, the Joint Liquidators stated that GL was abandoning

all of the six claims previously made in the Proofs of Claim (which included the JL 423

Claim), save for the JL 238 Claim.

       38.     Some 10 days later, on 23 December 2021, the 1782 Application was filed in

this Court. The Subpoena issued thereunder, requests for documents which the Petitioner

says will likely be relevant to the relief aspect of the 423 Claim (Golding 1 [78]).

       39.     On 22 January 2022, SBIA US (as representative of SVF II Abode and SVF II

Holdings) applied to join Katerra’s objection to the JL 238 Claim.

       40.     On 24 January 2022, the day of the first status conference ordered by the

Bankruptcy Court, the Joint Liquidators filed a Notice of Agenda referring to GL’s

“withdrawal of all causes of action other than its claims for a transaction at undervalue.”

However, at the hearing, the Joint Liquidators informed the Bankruptcy Court that they

intended to withdraw the Proofs of Claim in its entirety. Subsequently, the parties agreed a

form of order which resolved “with prejudice” all of the “Greensill Claims” (defined as those

included in the Proofs of Claim filed by the Joint Liquidators in the Texas Action , including

the JL 238 Claim and the JL 423 Claim (East 1 [36])).

       41.     On 28 January 2022, the Bankruptcy Court entered an order in the agreed

terms (“Withdrawal Order”), confirming the withdrawal of all the Greensill Claims with

prejudice (East 1 [36]). The Withdrawal Order provided that GL would not continue or

prosecute any of the Greensill Claims (including the JL 423 Claim) against the Katerra


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entities “in this court or any other jurisdiction, foreign or domestic” (paragraph 2).

Moreover, paragraph 5 of the Withdrawal Order provided that GL “and anyone acting by,

through, or under [GL], is prohibited from pursuing any claim or action against the Debtors,

their estates, or the Wind-Down Debtors in this Court or any other jurisdiction, foreign or

domestic, that was or could have been asserted against the Debtors or the Wind -Down

Debtors prior to the Petition Date.”



IV. THE ENGLISH LEGAL FRAMEWORK AND OVERVIEW OF TRANSACTION

                     AVOIDANCE PROVISIONS IN ENGLISH LAW



A. THE APPLICABLE ENGLISH LEGAL FRAMEWORK

       42.     English law sources include the common law (which has no direct application

in the present context), statutes enacted by the UK Parliament (“Acts”) and subordinate

legislation made pursuant to the powers conferred in an Act, primarily in the form of

Statutory Instruments (“S.I.”). With immaterial exceptions, English courts are bound to give

effect to Acts and S.I.s in accordance with their terms.

       43.     The principal statute dealing with corporate insolvency in England is IA1986 ,

which was enacted following recommendations by the Insolvency Law Review Committee

under the chairmanship of Sir Kenneth Cork (the “Cork Report”). Although IA1986

represented a new insolvency code, its foundations lay in earlier statutory provisions, some of

which had previously only been applicable to personal insolvency (bankruptcy), but came to

be newly applied to corporate insolvency (administration and winding up/liquidation).

IA1986 has been amended from time to time since its enactment.




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       44.      The main subordinate legislation providing the procedural underpinning to

IA1986 is the Insolvency Rules 2016 SI 2016/1024 (“IR2016”).2 In addition, insolvency

applications and claims are subject to the general rules applicable to civil claims as set out in

the Civil Procedure Rules SI 1998/3132 (“CPR”), subject to modification by IR2016 (see

IR2016, Rule 12.1). Accordingly, the procedural position applicable to insolvency claims is

generally governed by a mixture of the rules contained in IR2016 and the CPR.

       45.      IA1986 sets out a framework for the handling of both corporate insolvency

and personal insolvency. In England, “bankruptcy” refers only to personal insolvency (i.e. a

collective insolvency process in respect of individuals) but not to corporate insolvency. The

key corporate insolvency procedures in England for present purposes are: (a) liquidation (also

referred to as “winding-up”), which can either be compulsory (i.e. court-ordered) or

voluntary; and (b) administration, a more recently introduced procedure with different

statutory objectives to liquidation. The “liquidator” is the officeholder in a liquidation, the

“administrator” is the officeholder in an administration, and the “trustee in bankruptcy” is the

officeholder in a bankruptcy. Focussing on the liquidator’s role, their primary function is to

have the assets of the company collected in and realised, its debts and liabilities discharged,

and any remaining balance distributed among shareholders (McPherson & Keay’s Law of

Company Liquidation (5th Ed.) (“McPherson”) at paragraph 9-001). The liquidator’s primary

statutory powers are directed to that end (see Section 165 (applicable to a voluntary

liquidation) and Section 167(1) IA1986 (applicable to a compulsory liquidation), and

Schedule 4 of IA1986). By virtue of Section 165(1), the liquidator may exercise the powers

in Parts I to III of the Act without prior creditor approval. Those powers extend to the




2
    Prior to the introduction of the IR2016, the applicable rules were the Insolvency Rules 1986 (SI 1986/1925)
    as amended.



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institution of legal proceedings, including the commencement of avoidance proceedings dealt

with immediately below (Schedule 4, paragraph 3A).

         46.      Whilst the frameworks for the handling of corporate and personal insolvency

procedures are distinct, a number of provisions closely mirror each other. A case in point is

Section 238 IA1986 (“Section 238”) which deals with corporate transactions at undervalue,

and its bankruptcy equivalent, Section 339 IA1986. Given the close similarity of the statutory

wording, case law on one set of these mirror provisions often guides the interpretation of the

other. Certain provisions apply both to corporate insolvency and bankruptcy: Section 423 is

an example.

         47.      In general, the “court” for the purpose of IA1986 means the court having

jurisdiction to wind up a company (Section 251 IA1986). The High Court has jurisdiction to

wind up any company registered in England and Wales. A specialist list within the Chancery

Division (one of the three component divisions of the High Court) known as the “Insolvency

and Companies List (ChD)” deals with corporate and personal insolvencies. High Court

Judges or specialist insolvency judges known as “ICC Judges” can hear insolvency matters in

accordance with the allocation of business set out in the Practice Direction: Insolvency

Proceedings, which supplements the IR2016.

         48.      Whilst not technically bound by the decisions of other High Court judges, a

High Court judge should generally follow the decisions of their peers unless there is a

powerful reason for not doing so: see Willers v. Joyce [2018] AC 843. Pursuant to the

doctrine of precedent (or stare decisis), High Court judges are bound by decisions of the

Court of Appeal and the UK Supreme Court (“UKSC”)3, and the Court of Appeal is bound by

3
    The jurisdiction now exercised by the UKSC was exercised until 2009 by the House of Lords. Judgments of
     the House of Lords continue to enjoy the same status as judgments of the UKSC. The Justices of the UKSC
     also sit as members of the Judicial Committee of the Privy Council which is the final court of appeal fro m
     many British offshore territories. Its decisions have very strong persuasive effect and are generally
     followed by all English courts including the UKSC, but are not technically regarded as binding.



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decisions of the UKSC: Willers v. Joyce at [5]. The UKSC is generally bound by its own

earlier decisions (and those of the House of Lords). Although it may depart from them in

certain circumstances, it is unusual for it to do so.



B.   ENGLISH AVOIDANCE LEGISLATION

       49.     In this Section I will discuss two English law corporate avoidance provisions,

Sections 238 and 423, which are both (in the most general terms) concerned with reversing

improper transactions which an insolvent company has entered into. I will first provide a brief

overview of the key elements to claims under the two provisions, and the discretionary relief

available under them. I will then briefly compare claims under the two provisions and

consider the overlap between them.

       50.     Although the Petitioner’s threatened claim is limited to a claim under Section

423, I believe that an understanding of both statutory avoidance provisions is necessary for

two reasons. First, because of the degree of overlap between the two provisions, which is

reflected in their judicial treatment. Secondly, in light of the claims advanced by the Joint

Liquidators in the Bankruptcy Court and the significance of the abandonment of those claims

to the Petitioner’s own threatened 423 Claim (an issue addressed in Section V.C.(ii) below).

       (i) Section 238 – Transactions at an undervalue

       51.     The heading appearing above Section 238 in IA 1986 is “Transactions at an

Undervalue”. The Section is “concerned with the depletion of a company’s assets by

transactions at an undervalue”: see Re M C Bacon Ltd [1990] BCLC 324 at 340c. It

emerged out of Section 42 of the UK Bankruptcy Act 1914 (“1914 Act”) which, by




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recommendation of the Cork Committee, was extended from personal insolvency to corporate

insolvency for the first time, on the enactment of IA1986 (Cork Report at 1237).4

       52.      Elements A claim under Section 238 may only be brought by a company’s

liquidator or administrator. 5 Consequently, the company must have entered into a formal

insolvency process before Section 238 is engaged. For the discretionary jurisdiction to grant

relief under Section 238(3) to be engaged, the liquidator must satisfy the court as to the

following elements:

     (a)        the company must have entered into a “transaction” (Section 238(4));

     (b)        the transaction is at an “undervalue”, which is defined to mean either the

                making of a gift or a transaction for no consideration (Section 238(4)(a)), o r

                where “the company enters into a transaction with that person for a

                consideration the value of which, in money or money's worth, is significantly

                less than the value, in money or money’s worth, of the consideration provided

                by the company” (Section 238(4)(b)).

     (c)        the transaction was entered into at the “relevant time”, which in turn imposes

                two requirements. The transaction must have been entered into less than 2

                years before the entry into the formal insolvency process (Section 240(1)(a))

                and at a time when the company was insolvent or became insolvent as a

                consequence of it (Section 240(2)).

       53.      If those requirements are satisfied then, subject to a statutory defence under

Section 238(5), the court has a discretionary jurisdiction to “make such order as it thinks fit




4
    See Section 238(1) and (2).
5
    Pursuant to Section 246ZD IA1986, officeholders are entitled to assign statutory rig ht s o f act io n wh i ch
    include a Section 238 claim.



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for restoring the position to what it would have been if the company had not entered into that

transaction” (Section 238(3)).

       54.     Transaction Section 436 IA1986 defines a “transaction” as including “a gift,

agreement or arrangement, and references to entering into a transaction shall be construed

accordingly.” That definition is inclusive and not exhaustive: BTI 2014 LLC v. Sequana SA

[2019] 2 All E.R. 784 at [58]. Thus, a “transaction” includes for example, payment by a

company of a dividend (ibid). “It is right to say that the word ‘transaction’ as a matter of

ordinary language embraces a potentially wide range of possibilities”: see Taylor v. Sinclair

[2002] B.P.I.R. 203 at [20].

       55.     In order to identify the relevant transaction for the purposes of Section 238,

the court will take a broad view and look to the commercial reality. Accordingly, as was

decided in the leading Section 238 case of Phillips (Liquidator of AJ Bekhor & Co) v. Brewin

Dolphin Bell Lawrie Ltd [2001] 1 W.L.R. 143 at [9] (a decision of the House of Lords) a

“transaction” may include a series of linked agreements.

       56.     Consideration As regards the “consideration” provided in the transaction,

this is “very much central to the transaction under scrutiny”: McPherson at paragraph 11-

034. In Phillips v. Brewin Dolphin, Lord Scott emphasised that the identification of

consideration is a question of fact, providing the following example:

       “if a company agrees to sell an asset to A on terms that B agrees to enter into
       some collateral agreement with the company, the consideration for the asset
       will, in my opinion, be the combination of the consideration, if any, expressed
       in the agreement with A and the value of the agreement with B” (page 151).

Thus, as noted by academic commentators:

       “[v]iewed in isolation, a particular contract within the structure may be
       identified as having been entered into at an undervalue, but when examined
       in the context of the arrangement between the parties as a whole it can be
       seen that the debtor has in fact received full consideration ” (Transaction

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        Avoidance in Insolvencies (3 rd Ed.) (“Transaction Avoidance”) at paragraph
        4.12).6


        57.       As regards the assessment of whether the consideration provided in the

transaction was at an “undervalue” within the meaning of Section 238(4)(b), in the seminal

case of Re M C Bacon (at page 340) Millett J (later Lord Millet when he sat in the House of

Lords) held that:

        “a comparison is to be made between the value obtained by the company for
        the transaction and the value of consideration provided by the company. Both
        values must be measurable in money or money’s worth and both must be
        considered from the company’s point of view”.

        58.       The consideration provided for the transaction is to be viewed from the

perspective of the debtor company. Millett J also explained that there can be no transaction at

an undervalue where the transaction in question (in that case, the creation of security) does

not deplete the company’s assets or diminish their value (ibid). See also Burnden Holdings

(UK) Ltd (In Liquidation) v. Fielding [2019] Bus. L.R. 2878 at [504], where Zacaroli J

followed Millett J on this point. Money paid by a company which was subject to a so -called

Quistclose trust7 and therefore “was never at [the company’s] free disposal and was never

capable of being used as part of its cash flow” did not engage Section 238 either: see Mundy

v. Brown [2011] B.P.I.R. 1056.

        59.       Statutory Defence Section 238(5) provides a complete statutory defence to a

Section 238 claim where the transaction was entered into: (a) in good faith and for the

purposes of carrying on the company’s business; and (b) at the time there were reasonable

grounds for believing that the transaction would benefit the company. If that defence is made

6
    See also the reference to an “overall arrangement in Re, Ramlort Ltd v. Reid [2003] EWHC 1 9 9 9 (C h ) at
    [97]–[98] per Norris J in connection with Section 340 IA1986.
7
    I.e. an equitable right to see that monies are not advanced for any other purpose than the stated purpose.



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out by the defendant, “[t]he court shall not make an order under this Section.” (emphasis

added).

        60.     Remedy Where the elements of Section 238 are satisfied and the statutory

defence is not established, the court’s broad discretion to award relief under Section 238(3) is

engaged. Non-exhaustive examples of relief which the court may award are set out in Section

241. Despite the wording of Section 238(3) appearing to require the court to adopt a

particular course when fashioning an appropriate remedy (“the court shall…”), the English

courts have held that it confers an overall discretion on the court to make such order as it

thinks fit, including no order at all: see Re Paramount Airways Ltd [1993] Ch. 223 at p. 23 9 .

In exercising its discretion as regards remedy, the court’s task is to fashion the most

appropriate remedy with a view to restoring, so far as it is practicable and just to do so, the

position as it would have been if the debtor had not entered into the transaction: see Reid v.

Ramlort Ltd [2005] 1 B.C.L.C. 331 at [125].

        61.     Recoveries made by the liquidator under Section 238 inure for the benefit of

the company’s general creditors and are not available to the holder of a floating charge: Re M

C Bacon, and now Section 176ZB IA1986.8



        (ii) Section 423 – Transactions defrauding creditors

        62.     The heading appearing above Section 423 in IA86 is “Transactions

Defrauding Creditors”. The content of this heading is relevant to any issue as to the

construction of the statutory provision appearing below it: see Regina v. Montila and Others

[2004] UK 50.

        63.     Consistent with this heading, Section 423 is, in broad terms, a provision

intended to provide a means of remedying losses caused by transactions ‘in fraud of creditors’

8
    Introduced by Section 199 of the Small Business, Enterprise and Employment Act 2015.



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(an expression of some antiquity in English law). Indeed, provisions analogous to Section

423 can be traced back in English law to at least the Fraudulent Conveyances Act 1571 (13

Eliz. 1, c.5),9 known also as ‘The Statute of Elizabeth’ (and further back to the actio pauliana

in Roman law). Section 423’s direct statutory antecedent was Section 172 of the Law of

Property Act 1925, which was not part of an insolvency code, but a statute dealing (as its

name suggests) more generally with property rights. These origins of the provision are

reflected in the fact that a Section 423 claim neither requires that the debtor is subject to a

formal insolvency process,10 or that an insolvency officeholder brings the claim.

         64.      Although a “victim” may bring a Section 423 claim (Section 424(1)(c)), where

the company or individual, 11 has actually entered into a formal insolvency process, this is

subject to the important restriction that the victim must obtain the court’s leave (permission )

to bring a claim (Section 424(1)(a)).

         65.      Elements of the transaction For the discretionary jurisdiction to grant relief

under Section 423 to be engaged, the claimant must satisfy the court as to the following

elements:

         (a)      the company must have entered into a “transaction”.

         (b)      the transaction is at an “undervalue”, which is defined to mean either the

                  making of a gift or a transaction for no consideration (Sections 423(1)), or

                  where “he enters into a transaction with the other for a consideration the

                  value of which, in money or money’s worth, is significantly less than the value,




9
     Cork Report at paragraph 1202.
10
     Despite that being a recommendation of the Cork Report at paragraph 1220.
11
     Section 423 applies both to personal and corporate insolvency.



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                  in money or money’s worth, of the consideration provided by himself” (Section

                  423(1)(c)). 12

        (c)       the transaction must have been entered into by the debtor company for the

                  purpose of either “putting assets beyond the reach of a person who is making,

                  or may at some time make, a claim against him” (Section 423(3)(a)) or

                  “otherwise prejudicing the interests of such a person in relation to the claim

                  which he is making or may make” (Section 423(3)(b)).

        66.       The important concepts and the statutory wording under Section 423(1) are in

all relevant respects the same as those in Section 238, as far as concerns “transaction”,

“consideration” and “undervalue”. Accordingly, the English courts have proceeded on the

footing that cases dealing with these aspects of Sections 238 and 423 will apply

interchangeably,13 and have adopted materially the same interpretation as that discussed

above in the context of Section 238 in respect of the concepts of “transaction”,

“consideration” and “undervalue” in Section 423 claims.

        67.       Consistent with this general approach, for the purposes of identifying the

“transaction” entered into by the debtor company under Section 423(1), a single composite

transaction was identified in a Section 423 claim where two linked agreements were

“indissolubly bound up as part of the same overall transaction”: see Delaney v. Chen [2010]

BPIR 316. Likewise, where the transaction involved “a continuing event that was made up of

a series of individual components”: see Griffin v. Awoderu [2008] B.P.I.R. 877 at [27].


12
     Section 423(1)(b) also includes entry “into a transaction with the other in consideration of marriage o r t h e
     formation of a civil partnership” within the definition of undervalue.
13
     See National Bank of Kuwait v. Menzies [1994] B.C.C. 119 (in which I app eared as C o unsel) at p . 1 29
     where Balcombe LJ held that Millett J’s reasoning in Re M C Bacon on Section 238(4) ap pl ied “ mu t ati s
     mutandis” in the context of a Section 423 claim; Agricultural Mortgage C orp Pl c v. Wo o dward [1 9 94]
     B.C.C. 688 at p. 695 where the Court of Appeal held that the first instance judge had erred in holdin g t h at
     Re M C Bacon was inapplicable to a Section 423 case (page 695); and, for a recent example, see B u rnd en
     Holdings (UK) Ltd (In Liquidation) v. Fielding at [503], where the court also relied upon Re M C Bacon in
     the context of a Section 423 claim.



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       68.     Mental element To mount a successful claim, Section 423(3) requires that

the claimant establish a specified mental element on the part of the debtor whose property has

been diminished by the transaction. For the purpose of establishing the claim, the state of

mind of the counterparty (beneficiary of) the transaction is of no relevance (although it may

play a part in fashioning any relief to be granted). The claimant must prove that the

transaction was entered into by the debtor for one or other of the purposes set out in Section

423(3), and it is the actual subjective intention of the debtor in entering into the transaction

which has to be investigated: see Royscot Spa Leasing Ltd v. Lovett [1995] BCC 502 at

587H. In this connection, the Court of Appeal has emphasised the need to consider whether

the transaction was entered into for the prohibited purpose:

       “it is not enough to bring a transaction at an undervalue within Section
       423 that the transaction had the consequence of putting assets of the debtor
       beyond the reach of creditors. That is so even if the consequence was
       foreseeable or was actually foreseen by the debtor at the time of entering into
       the transaction. Evidence that the debtor believed that the transaction would
       result in putting assets beyond the reach of creditors may support an
       inference that the transaction was entered into for the purpose of doing so,
       but the two things are not the same. To illustrate the distinction using a less
       homely example than that given by Arden LJ, a commander may order a
       missile strike on a military target knowing that it will almost certainly cause
       some civilian casualties. But this does not mean that the missile strike is
       being carried out for the purpose of causing such casualties” JSC BTA Bank
       v. Ablyazov [2019] B.C.C. 96 at [15]. (Emphasis added)

       69.     Remedy Where the transaction is shown by the claimant to have been at an

undervalue and entered into by the debtor with the required mental element, the court’s

discretionary jurisdiction as to remedy under Section 423(2) is engaged. Non-exhaustive

examples of relief which the court may award are set out in Section 425(1).




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       70.     Despite the broad discretion as to remedy, as explained by the Court of Appeal

in Chohan v. Sagar [1994] B.C.C. 134 (at p. 141C):

        “it is not a power to restore the position generally, but in such a way as to
       protect the victims’ interests; in other words, by restoring assets to the debtor
       to make them available for execution by the victims” (emphasis added)

Thus, as the position was put in Griffin v. Awoderu at [40], the powers:

       “can be exercised only for the purposes set out in Section 423(2) of the
       Insolvency Act 1986, that is to restore the position to what it would have been
       if the transaction had not been entered into, or to protect the interests of
       anyone who has been adversely affected by the transaction”

but it is impermissible to put a “victim”:

       “in a better or more secured position than they would have been in if the
       transaction had not been carried out” (Ibid., emphasis added)

       71.     As I note at paragraph 60 above, the court’s broad discretion is such that it

may decline to grant relief altogether. That includes where it is not possible to restore the

position to what it would have been if the transferor had not entered into the relevant

transaction: see Trustee in Bankruptcy of Claridge v. Claridge [2011] BPIR 1529, a decision

on transactions at an undervalue in bankruptcy, where Sales J declined to make an order for

any payment or relief despite finding that the relevant transaction was at an undervalue,

noting at [49(ii)] that there was “no simple way to restore the position to what it would have

been if [the debtor] had not entered into the relevant transaction ”.

       72.     Procedure A Section 423 claim may be brought by a “victim” where the

debtor company is not in a formal insolvency process (Section 424(1)(c)). Where the debtor

company is in a formal process the claim can only be brought with the court’s leave (Section

424(1)(a)). In this case, the Petitioner’s stated intention is to commence the 423 Claim against

the SoftBank Defendants (Golding 1 [65]), all of which are domiciled outside England and




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Wales (i.e. outside the jurisdiction of the English High Court). Accordingly, the 423 Claim

would be subject to two initial procedural preconditions:

       (a)     the Petitioner must apply to the English court for leave to bring the Section

               423 claim as a victim of the transaction (see Section 424(1)(a)); and

       (b)     the Petitioner must apply for leave to serve the claim out of the jurisdiction of

               the English court on the SoftBank Defendants.

       73.     Whilst both applications can be made without notice to the SoftBank

Defendants (“ex parte”), in my opinion it would be better practice for the Petitioner to give

notice, where: (a) it has received a request for the applications to be made on notice (East 1

[45(e)] and [48]); and (b) it has been put on notice that there is likely to be a challenge to the

jurisdiction of the English court (see e.g. Exhibit 43 to East 1 at [9(b)] and [11]). Whilst the

two leave applications are quite distinct from a procedural perspective and engage different

rules, in the circumstances of this case, there is sufficient overlap of the issues that would

arise on both that the cost effective and pragmatic approach would be for the two applications

to be “rolled-up” and heard, on notice to the proposed defendants as one. In that way, the

English court could deal with issues as to its own jurisdiction, as well as the proposed

defendants’ objections as to the underlying merits of the claim at the same time, without

prejudice to the proposed defendants’ position on jurisdiction and without their objections

thereby constituting a submission to the jurisdiction: see Moloobhy v. Kanani [2012]

EWHC1670 (Comm) at [77].



C. COMPARISON BETWEEN SECTIONS 238 AND 423

       74.     In this Section, I compare and contrast briefly (a) the rationale and elements to

a Section 238 and Section 423 claim; (b) the procedural differences; and (c) the available

remedies and the approach to granting them.


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        75.        Rationale and elements The policy drivers underlying Sections 238 and 423

are closely aligned. Both provisions ultimately have their origins in the old law of fraudulent

conveyances and are “aimed at preventing the depletion of the estate of a debtor to non -

creditors and with loss for the creditors”: see McPherson at paragraph 11-014. Satisfying the

court as to the relevant undervalue is a necessary condition for relief to be granted in respect

of both Section 238 and Section 423. It is for this reason that the legislature use d the same

language to capture the concept of undervalue in the two provisions (cf. Section 238(4) and

423(1)). I have previously described how the English courts apply the case law on the

identification of the “transaction”, “consideration” and “undervalue” interchangeably as

between Section 238 and Section 423.

        76.        There are also points of difference between the two provisions, although on

close examination it may be that in practice not all the differences are as significant as might

at first appear:

       (a)         Thus, although Section 423 requires the claimant to prove that the debtor has

                   the requisite statutory intention specified in Section 423(3) and Section 238

                   contains no such requirement, that is not to say that the state of mind of the

                   debtor is necessarily irrelevant under Section 238. The claimant is not entitled

                   to any relief if the defendant is able to establish the statutory defence under

                   Section 238(5). It has been noted in relation to Section 238 that “while intent

                   to deprive creditors is not a prerequisite for avoidance, a transaction in which

                   this intent is absent may escape avoidance by means of the defence that the

                   transaction was reasonably believed capable of being of benefit to the

                   company” Transaction Avoidance paragraph 2.33 (original emphasis).

       (b)         Section 238 requires the liquidator to prove that the company was insolvent at

                   the time of entering into the transaction, and that the transaction was entered


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               into within 2 years of the commencement of a formal insolvency process.

               Conversely, the debtor’s insolvency is not a prerequisite under Section 423,

               nor is there a particular look-back period imposed under Section 423 (claims

               are subject to the usual statutory limitation periods applicable to claims

               generally, but these are not applicable in the present case and do not need to be

               discussed further).

       (c)     As previously noted, an application under Section 423 need not take place in

               the context of liquidation or administration, as in necessary under Section 238.

       77.     Procedure The key procedural difference between Section 238 and Section

423 flows from who has locus standi to bring the claim. Unlike Section 423, where the range

of potential claimants is broader (see Section 424(1)), only the transferor company’s

liquidator has standing to bring a Section 238 claim. Once a transferor company enters

liquidation, however, the proper party to bring a Section 423 claim would normally be the

liquidator (as I discuss in Section V. sub-section C.(ii) below ). It is for this reason that the

alleged victim must apply for leave to commence the claim in such cases.

       78.     Relief The nature of the relief available to the court on a Section 423 claim is

materially the same as that available on a Section 238 claim. The examples of relief set out in

Sections 241 and 425 are also the same (save for the omission of Section 241(g), which

assumes a winding-up of the company).

       79.     The approach taken by the English courts to the grant of relief under Section s

238 and Section 423 also has much in common. In both cases, the court’s exercise of

discretion is directed to “restoring the position to what it would have been if the company had

not entered into” the transaction: Sections 238(3) and 423(2)(a).

       80.     In addition, on a Section 423 claim, the court may also fashion the remedy to

“protect the interests of persons who are victims of the transaction” (Section 423(2)(b )), i.e.


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in a manner not specifically directed to benefitting only the party applying for the relief.

However, once the debtor enters a formal insolvency process, the court fashions the remedy

for the benefit of all unsecured creditors and not in such a way as to allow a particular

“victim” to steal a march on the other unsecured creditors: see Griffin v. Awoderu [2008]

B.P.I.R. 877 at [40] and McPherson at paragraph 11-122:

              “If one victim of a transaction brings proceedings under s.423 and
              succeeds, then the court may make an order which is in effect a
              form of class relief, providing a benefit to all creditors”.
That approach is consistent both with the class nature of the Section 423 remedy (Section

424(2)) and the pari passu principle which underpins the statutory insolvency scheme

(IR2016, Rule 14.12(2)).

       81.    Conclusion Whilst there are plainly differences of an essentially procedural

nature between Sections 238 and 423, the similarities between the sections are greater than

the differences and there is a substantial overlap between them such that the English courts

have consistently applied decisions on the critical ‘transaction at an undervalue’ element of

both provisions mutatis mutandis to the other.



               V. IS THE PETITIONER LIKELY TO GET 423 LEAVE

                              TO BRING THE 423 CLAIM?

       82.    For the reasons set out below, I consider that it is highly unlikely that the

Petitioner would be given leave by the English court to commence the 423 Claim, whether as

foreshadowed in Golding 1, the LBA or at all, or that if leave were granted ex parte it would

survive a subsequent challenge.




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A. GENERAL APPROACH TO SECTION 423 LEAVE APPLICATIONS


        83.     The test which a putative “victim” wishing to obtain leave to bring a Section

423 claim must satisfy is that it has a realistic prospect of establishing the following two

gateway issues (“Gateway Issues”):

        (a)     that the transaction in question comes within the scope of Section 423 and he

                is a victim of the transaction (“Gateway 1”); and

        (b)     that there is good reason why he should bring the proceedings even though the

                liquidator or administrator does not (“Gateway 2”)

see: Re Simon Carves Ltd [2013] 2 B.C.L.C. 100 at [27] and McPherson at paragraph 11-

123.

        84.     The grant of leave is not a ‘rubber stamp’ exercise. Ordinarily, as a matter of

practice, at the leave stage the applicant will provide the court with a fully pleaded claim , so

that the court can properly satisfy itself that the test in Gateway 1 has been met. The

application would also be supported by detailed evidence addressing both Gateway Issues.

No pleading has yet been produced by the Petitioner.

        85.     On the leave application the court will proceed to scrutinise the pleading and

the evidence accompanying the application to consider whether the applicant has established

a real prospect that the different elements of the statutory cause of action are made out : see

e.g. the approach in Re Simon Carves Ltd at [38]. Whilst the court will not decide issues of

fact, it is not required to take the pleadings at face value, particularly where a matter is

speculative or plainly unsupported by the evidence: ibid. at [42].

        86.     The onus therefore lies four square on the applicant for leave to demonstrate

the precise nature of its claim and address its case on each of the elements necessary to

substantiate its claim, at the very earliest stage.




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       87.     Whilst Golding 1 and the LBA contain a consideration of Gateway 1, neither

of them addresses Gateway 2 at all. Thus, even the more detailed presentation of the 423

Claim in LBA [79] merely states that “our client’s view is that the Court will grant leave for

our client to bring the proposed claim”. However, it contains no consideration of what “good

reason” exists for the Petitioner to bring the 423 Claim instead of the Joint Liquidators. For

this reason alone, neither the material placed by the Petitioner before this court or the content

of the LBA establish a sufficient basis for the grant of leave by the English court.




B. GATEWAY 1 - FORMULATION AND ELEMENTS OF THE 423 CLAIM


       88.     I make the following preliminary observations in respect of the 423 Claim set

out in Golding 1:

       (a)     the claim is set out shortly in six propositions (at [68]), of which only the first

               two deal with the requisite elements of a Section 423 claim;

       (b)     Golding 1 appears to identify a series of “transactions” (plural), which it calls

               “Improper Transactions”, i.e. the Security Release Agreement, the CEA and

               the Transfer Agreement. It is not clear from Golding 1 whether it is identifying

               each transaction as being at an undervalue, or as a single composite

               transaction at an undervalue;

       (c)     no analysis of the consideration given for the transaction(s) from GL’s point of

               view is provided; and

       (d)     the only relief it describes is an order “to restore the position that would have

               prevailed had the Improper Transactions not occurred and/or protect the

               Petitioner’s interests”, including payment by the SoftBank Defendants of a

               sum of money (though it is not said to whom the money should be paid).



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       89.     I note the following as regards the 423 Claim described in the LBA:

       (a)     the claim now only concerns two transactions (the CEA and the Transfer

               Agreement), which are referred to as the “Impugned Transactions” (at [5],

               [51]-[52]);

       (b)     the Petitioner characterises the CEA and the Transfer Agreement as

               constituting a single composite transaction or, alternatively, as individual

               transactions (at [51]-[52]);

       (c)     whilst there is an analysis of the relevant consideration, it is not clear to me

               that this has, as required by Section 423, been undertaken from the perspective

               of GL. In any event, the Petitioner now appears to say that the transactions

               were either at a significant undervalue or that they were for no consideration

               at all (at [54]); and

       (d)     as to relief, rather than restoring the position to that which would have

               prevailed absent the Impugned Transactions (i.e. a scenario where Katerra’s

               debts were not forgiven by GL), the Petitioner seeks a direct payment from the

               SoftBank entities to it (at [10] and [75]-[76]).

       90.     It is my opinion that, notwithstanding the Petitioner’s attempt in the LBA to

fill certain of the lacunae in the 423 Claim evident from its description in Golding 1, the 423

Claim would nevertheless face a number of insurmountable hurdles. This conclusion is based

on an application of the legal principles I have set out above to the facts as stated in East 1

and a review of the materials I have seen.

       91.     Characterisation of the transaction and consideration provided First, I do

not believe that the English court would take the narrow view of the “transaction” and

“consideration”, set out in the LBA (at [51]-[52]). The Petitioner’s characterisation of the so -

called “Composite Transaction” (as involving only the CEA and Transfer Agreement, at [51])


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fails to take into account key aspects of the overall restructuring (such as SVF II Wyatt’s

payment of $440 million to GCUK’s accounts pursuant to the CLN) which are essential to the

commercial reality of the transaction looked at holistically.

       92.     In my opinion, contrary to the Petitioner’s approach, the court would look to

the commercial reality of the situation and have regard to:

       (a)     the expansive approach adopted by the English courts to linked agreements

               and arrangements when analysing the “transaction” in cases such as Phillips v.

               Brewin Dolphin Bell Lawrie Ltd, Delaney v. Chen and Griffin v. Awoderu;

       (b)     the fact that GL was brought into existence solely for the purpose of

               purchasing receivables from Katerra pursuant to the RPA and, as such, GL

               acted as a mere conduit between Katerra and GCUK, because if GCUK had

               entered into the RPA directly with Katerra instead of GL, GCUK would have

               needed to be licensed in California (which it was not). This regulatory

               inconvenience was circumvented by GL entering into the RPA instead of

               GCUK and passing-on the economic benefit to GCUK (East 1 [12]);

       (c)     the purpose for which the payment of US$440 million was made to GCPL in

               relation to the CLN (East 1 [17], [19]), as well as the subsequent amendment

               of the CLN in December 2020 to increase SVF II’s equity holding in GCPL

               (East 1 [21(c)]);

        (d)    the fact that those monies were on-lent to GCUK, which performed a central

               treasury function for the Greensill group as a whole (including GL) and

               typically held available funding for the broader group (East 1 [20]). I note that

               the LBA also describes the Katerra Notes as being “originated by GCUK” (at

               [3]); and




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       (e)      the fact that the First and Second Stages of the Restructuring Transaction are

                most naturally viewed as phases of a single linked restructuring:

                (i)    the First Stage was aimed at resolving Katerra’s otherwise imminent

                       insolvency by allowing Greensill to internalise the risk associated with

                       its exposure to Katerra and then pass that risk through to SVF II;

                (ii)   this initial phase included (1) the provision of $440 million by SVF II

                       Wyatt under the CLN and (2) an agreement by GCPL to assume all

                       losses associated with the Katerra Notes and the Katerra programme

                       (and thus insulate third party purchasers of the Katerra Notes and GL)

                       and by GCUK to direct GL (under the Omnibus Deed and terms of the

                       Participation Agreement) to obtain and to remit receivables;

                (ii)   the Second Stage was necessitated by Katerra’s ongoing financial

                       difficulties, which placed GCPL, GL and GLUK in a position where they

                       risked defaulting on their obligations. The December follow-on

                       agreements were entered into to avoid such a default and involved

                       amendment of the terms of the interconnected November agreements (by

                       amendment of the Omnibus Deed and the CLN) and entering into further

                       agreements.

       93.      Taking full account of these factors, the commercial realities of the Greensill

corporate structure and the linked nature of the various aspects of the transaction, it is my

opinion that the English court would hold that the US$440 million payment should be taken

into account as part of the consideration received by GL, when assessing the alleged

“undervalue”.

       94.      If that $440 million sum is taken into account, then there can plainly have

been no undervalue.


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       95.     I note that notwithstanding the articulation by the SoftBank Defendants of

their position on this issue in Quinn Emanuel’s letter to Freshfields of 19 January 2022

(Exhibit 43 to East 1 at [2]–[6]), neither Golding 1 nor the LBA addresses the significance of

the US$440 million payment.

       96.     Undervalue Second, even if the Improper or Impugned Transactions were to

be considered individually, I do not believe that the case advanced in Golding 1 discloses a

case of undervalue. Where Section 423 is invoked in a liquidation context, the underlying

vice it is aimed at is “preventing the depletion of the estate of a debtor to non-creditors and

with loss for the creditors”: see McPherson at paragraph 11-014. In this case, GL had

previously entered into a Participation Agreement, pursuant to which it had previously

transferred all economic benefit of its rights to payment under the RPA to GCUK. GCUK in

turn was obligated to cause GL to transfer recoveries under the RPA to SVF II, under an

agreement whereby all losses associated with the RPA and Katerra Notes would not be borne

by GL or GCUK. I have previously mentioned the Joint Liquidators’ evidence to the

Bankruptcy Court, in which it was confirmed that (prior to the entry into the Omnibus Deed)

“… the Funds … were the ultimate beneficiaries in the proceeds of the accounts receivable

and all or substantially all of the collateral granted under the RPA and Fee Letter. ” In those

circumstances I do not understand how it can be contended that there was any depletion to

GL’s estate by the Improper Transactions referred to in Golding 1 at [68(a)], or the narrower

class of Impugned Transactions in the LBA.

       97.     Further, if the relevant transactions are restricted to the Improper or Impugned

Transactions which were entered into in December 2020 (as the Golding 1 and the LBA

formulation of the 423 Claim both pre-suppose), their effect must be judged by reference to

the state of affairs existing at that time. In November 2020, GCUK had previously already

agreed to remit any payments under the RPA to SVF II Holdings, pursuant to the Omnibus


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Deed and the Amended Omnibus Deed. I cannot see what loss of value a court could find that

GL suffered, in circumstances where it had previously been agreed that all recoveries u nder

the RPA were to be remitted to SVF II Holdings in any event and where GCUK

acknowledged that its parent, and not GL, would incur any losses in respect of the Katerra

Programme.

         98.     Unless the Petitioner is able to provide a convincing answer to these

difficulties (and none is suggested in Golding 1 or the LBA) I do not see how the Petitioner

would be able to make out a viable claim under Section 423.

         99.     Petitioner as a victim Third, the applicant must establish a realistic prospect

of showing that it is a “victim” as defined by Section 423(5). In Westbrook Dolphin Square

Ltd v. Friends Life Ltd [2015] 1 W.L.R. 1713,14 Mann J explained at [401] that:

         “In order to be able to bring proceedings under (or to benefit
         from) Section 423 a person has to have a “claim” which gives rise to
         interests which are prejudiced (paragraph (b)) or a claim which is
         prejudiced by assets being put beyond the reach of that person (paragraph
         (a).”

see also Transaction Avoidance at paragraph 10.69. Whilst the Petitioner states that it is a

“victim” (Golding 1 [68(e)]), this appears to be based on the notion that it has “lost the entire

value of its investment in the Fairymead Notes and in consequence is a “victim” of the

Impugned Transactions” (LBA at [8], emphasis added). This formulation does not, in my

view, satisfy the requirements of the “victim” test under Section 423(5). A “victim” is a

person who is, or is capable of being, prejudiced by a particular transaction. A “victim” is not

a person who has suffered a loss and is “in consequence” a victim of a particular transaction:

that lacks the sufficient causal connection imported by the words “by the transaction”. In any



14
     Cited with approval in Kazakhstan Kagazy Plc v. Zhunus [2021] EWHC 3462 (Comm) at [220].



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event, as I note above, it had previously been agreed that all recoveries under the RPA were to

be remitted to SVF II Holdings. In those circumstances, I cannot see how the Petitioner was,

or was capable of being, prejudiced by the Improper or Impugned Transactions in this case.

       100.    Moreover, it is to be remembered that the heading above Section 423 indicates

that the section is concerned with “Transactions Defrauding Creditors”. This wording

implies the requirement for there to be a debtor / creditor relationship between the insolvent

and the “victim”. Yet, the Petitioner has not explained what actual or potential claim it has

against GL in this case, given the securitisation structure that was in place in relation to the

Katerra Notes, which were issued by a wholly different entity (Hoffman), a number of steps

removed from GL in the chain of holding in respect of these securities. I also note the

following matters, none of which are addressed in Golding 1:

       (a)     the extent to which the Petitioner is remote from the Improper / Impugned

               Transactions as demonstrated in Figure 1 of East 1;

       (b)     that enforcement of rights under and in respect of the Katerra Notes is limited

               to Citi acting as the Note Trustee (as the LBA appears to accept at [38]); and

       (c)     that Citi rather than the Petitioner is listed as a GL creditor.

       101.    GL’s purpose I have already discussed above what must be shown to meet

the requirement that the transaction was entered into by GL for the purpose of “putting assets

beyond the reach of a person who is making, or may at some time make, a claim against

him”. This is a fundamental requirement of a viable Section 423 claim, and – particularly in

the context of a complex commercial transaction – I would expect the English court to pay

close attention both to the way in which the case on ‘purpose’ is put by the claimant, and

whether it is supported by the evidence. To the extent that the claim advanced involved any

allegation(s) of dishonesty or bad faith, that would have to be clearly and distinctly pleaded:




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see e.g. the decision of the House of Lords in Three Rivers District Council v. Governor &

Co. of The Bank of England [2001] UKHL 16.

       102.    Despite its importance, the issue was initially addressed only briefly at

Golding 1 [68(b)], which contends (without reference to any material beyond a bare

assertion):

       “that the intention of Greensill Ltd was to assist SoftBank by freeing the
       Katerra companies of all Greensill Ltd’s rights, claims and security, and
       therefore to put those valuable assets (which were Greensill Ltd’s only
       assets apart from possible residual claims) beyond the reach of a person
       who might make a claim against Greensill Ltd’s rights, claims and/or
       security against the relevant Katerra counterparties.”

       103.    I do not believe that this formulation satisfies the ‘purpose’ requirement as

explained in Ablyazov (set out at paragraph 68 above). Golding 1 appears to be identifying a

purpose (“to assist SoftBank by freeing the Katerra companies of all Greensill Ltd’s rights,

claims and security”) and then to conflate that purpose with its consequence “and therefore to

put those valuable assets … beyond the reach of a person who might make a clai m against

Greensill Ltd’s rights, claims and/or security against the relevant Katerra counterpartie s”

(emphasis added).

       104.    Applying the Ablyazov principles, it appears to me that on the Golding 1

formulation – which critically depends on the link made by the use of the emphasised words

“and therefore” – the purpose of the transactions was assisting Softbank, and that “put[ting]

those valuable assets … beyond the reach of a person who might make a claim…” is no more

than a collateral consequence.

       105.    My views on this issue are fortified by the way the Petitioner has stated its

case on “purpose” in the LBA. Thus, the LBA states that:




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         “[t]his restructuring (which was driven by a desire to protect and/or
         maximise the Softbank Group’s investments) lay at the heart of the true intent,
         purpose and effect of the Impugned Transactions” (at [68], emphasis added)

and, to similar effect:

         “[t]hat the interests of the SoftBank Group drove the Impugned
         Transactions….” (at [69]).

 It concludes that:

         “It is therefore a reasonable and necessary inference…that Lex Greensill
         wished and intended at the time of the Impugned Transactions to assist the
         SoftBank Group…” and that “[Lex Greensill] must have appreciated that, in
         order to achieve that outcome, it would be necessary to put [GL]’s claims and
         rights….beyond the reach of its own actual and potential creditors…” (Ibid.).

         106.    It is my opinion that since the purpose which the Petitioner ascribes to GL/Lex

 Greensill (protecting/assisting the Softbank Group) is only stated as having the collateral

 consequence of putting GL’s claims and rights beyond the reach of creditors, the Petitioner’s

 case, even taken at its highest, does not satisfy the requirements of the purpose test as

 explained in Abylazov.

         107.    Relief As the LBA now makes clear (at [10]), the relief sought by the

 Petitioner is a direct payment to it by the SoftBank Defendants, circumventing a payment into

 the GL estate altogether. The power under Section 423(2) is to be used to “restor[e] assets to

 the debtor to make them available for execution by the victims” (Chohan v. Sagar, op. cit.),

 and it is impermissible to put the Petitioner “in a better or more secured position than they

 would have been in if the transaction had not been carried out” (Griffin v. Awoderu, op. cit.).

 That is plainly the effect of the relief set out by the Petitioner in the LBA. I do not see how, in

 the circumstances of this case, a direct payment order to the Petitioner could conceivably

 “restor[e] the position to what it would have been if the transaction [of which the Petitioner

 complains] had not been entered into” (Section 423(2)). On no view, would an unwinding of


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the Impugned Transactions have resulted in the Petitioner (which is not a creditor of GL)

receiving such a sum directly (or even indirectly).

       108.    Conclusion on Gateway 1 Based on the allegations contained in Golding 1

and the LBA, it is my opinion that the Petitioner cannot satisfy the Gateway 1 requirement, as

it does not have a realistic prospect of establishing that the Improper or Impugned

Transactions come within the scope of Section 423 and/or that GL had the necessary state of

mind and/or that the Petitioner is a victim of the transactions.


C.   GATEWAY 2 - GOOD REASON TO BRING THE CLAIM


       109.    Gateway 2 is not addressed either in Golding 1 or in the LBA. I believe that it

is likely to be particularly problematic for the Petitioner given (a) the circumstances in which

the Joint Liquidators advanced and then withdrew the JL 238 Claim and the JL 423 Claim in

the Katerra Chapter 11 proceedings; and (b) the Section 423 relief which is being sou ght by

the Petitioner, which is directly at odds with the nature of Section 423 as a class remedy.

       (i) Proper Claimant

       110.    In circumstances where the debtor company is in liquidation, it is unusual for a

party which is (allegedly) an unsecured creditor to take conduct of a Section 423 claim.

       111.    Once a debtor company is in liquidation, the function of Section 423 is “to

bolster the collective, rather than individual, claims of creditors to the assets of the debtor ”:

see Transaction Avoidance at paragraph 2.12. As discussed above, this flows from the fact

that Section 423 is a class remedy: Dora v. Simper [1999] B.C.C. 836.

       112.    Accordingly, the proper claimant to a Section 423 claim is the liquidator:

Lemos v. Church Bay Trust Company Limited [2021] EWHC 1173 (Ch) at [57] and Re

Simon Carves Ltd at [27]. In the former the position was stated as follows:

       “[57] The legislature has recognised that in cases where the debtor (for the
       purposes of s.423(5)) is bankrupt, the official receiver or the trustee in

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       bankruptcy are the most appropriate persons to bring s.423 proceedings. This
       is reflected in s.424(1) IA 1986, which requires all other persons wishing to
       bring s.423 proceedings to seek the leave of the court.

       [58] The JTBs have a clear and direct economic interest in the outcome of
       the proceedings. As the trustees in bankruptcy of Mr Lemos, they have a duty
       to get in the assets of Mr Lemos' estate for the benefit of his creditors as a
       whole. Any recovery made in the proceedings will be an asset of M r Lemos'
       estate which the JTBs will have to deal with as part of their administration of
       his estate. They are the obvious people to prosecute the s.423 claim and are
       now able and willing to do so.”

       113.    In this connection, in Menzies v. National Bank of Kuwait SAK [1994] BCC

119 at p. 125H the Court of Appeal held that:

       “…prima facie the proper plaintiff in proceedings to recover property or
       obtain reimbursement for the benefit of a company in liquidation is the
       company itself acting through its liquidator; the circumstances in which such
       proceedings can properly be brought in a winding up by a person other than
       the company or its liquidator are to be regarded as exceptions to the general
       statutory principle…”.
       114.    In view of these considerations, there is no doubt that the English court would

regard the reason why the Joint Liquidators were not bringing any available Section 423

claim as a material consideration: see, for example Dora v. Simper at p. 842, where the

failure to disclose to the judge a letter in which the Official Receiver explained his refusal to

pursue the Section 423 claim which underpinned an injunction application, was considered to

be material non-disclosure.

       115.    The circumstances of the present case are highly unusual (unprecedented in

my experience), in that the Joint Liquidators have actually asserted the JL 238 Claim and the

JL 423 Claim concerning substantially the same subject matter on behalf of the creditors

generally (including the Petitioner) in the Bankruptcy Court, before deliberately abandoning

those claims in their entirety, without having offered any explanation for doing so.

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          116.     Absent any attempt by either the Petitioner or the Joint Liquidators to address

these matters, I believe that the English court would require an explanation as to why, having

apparently elected to fund the Joint Liquidators’ claims before the Bankruptcy Court (East 1

[30]), the Petitioner now wishes to bring the 423 Claim in England in its own name, rather

than relying on the Joint Liquidators to do so 15, which would have been the usual course in a

liquidation context.

          117.     Given the Joint Liquidators’ duty to maximise returns for the liquidation estate

and their decision to consciously abandon (with prejudice) a transaction at an undervalue

claim, the English court would undoubtedly expect and require the Petitioner to explain why

it was bringing the 423 Claim when the Joint Liquidators had abandoned their own claim.

          118.     Further, the relief described in the LBA seeks to confer a benefit on the

Petitioner alone. In my view, that is at odds with the nature of Section 423 as a class remedy

(Section 424(2)), and is something the Court would likely take into account in declining 423

Leave. The Gateway 2 requirement is intended to police the use of Section 423 once the

debtor is in a liquidation to prevent any one unsecured creditor from stealing a march on the

others. In this case, the Petitioner, who is not a creditor of GL, is seeking payment of the full

principal value of the Katerra Notes directly to it, circumventing the GL estate altogether.

          (ii) Abuse of Process

          119.     A further issue which will arise on the leave application is whether the

Petitioner should be refused leave because it is abusing the process of the English court by

bringing the 423 Claim in its own name and for its own benefit, when the JL 423 Claim was

included as part of the Proofs of Claim in the Bankruptcy Court and then withdrawn “with

prejudice” for wholly unexplained reasons, in circumstances where the Petitioner had been

15
     If, indeed, this remains permissible in light of the withdrawal of the GL Proofs (as to which see immediately
      below).



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funding the pursuit of the withdrawn claim. In this regard I note the comments made by the

Judge in the Bankruptcy Court set out in East 1 [30].

       120.    This form of abuse of process derives from the rule in Henderson v. Henderson

(1843) 3 Hare 100, a decision which despite its venerable age is still regarded as having

established a fundamental rule of English law: namely, that a party may not raise any claim in

subsequent litigation which they ought properly to have raised in a previous action. The

leading modern House of Lords decision on the application of the rule is Johnson v. Gore

Wood & Co [2002] 2 AC 1.

       121.    The principle applies both where previous proceedings were brought in

England, and where the earlier proceedings were brought in a foreign court and it is

subsequently sought to bring further proceedings in England: see House of Spring Gardens

Ltd v. Waite [1991] 1 QB 241 and Mad Atelier International B.V. v. Manes [2020] QB 971. In

deciding whether proceedings are an abuse of process, the English Court will adopt a broad

merits-based judgment, focusing attention on the crucial question whether a party is misusing

or abusing the process of the court by seeking to raise before it the issue which could have

been raised before: see Johnson v. Gore Wood at p. 31A-F.

       122.    It is open to a party to subsequent proceedings to rely on Henderson v.

Henderson abuse of process where the first claim has been settled, adjudicated or

discontinued: see King v. Kings Solution Group Ltd [2020] EWHC 2861 (Ch). The principle

undoubtedly applies between original parties and their privies, as well as where “there is a

sufficient degree of identity between the successful defendant and the third party ”: Gleeson v.

J Wippell & Co Ltd [1977] 1 WLR 510 at p. 515 and Johnson v. Gore Wood at p. 32.

Although the English court will consider identity between the parties as a factor in the

application of the broad merits-based judgment, there is no rule of law that there cannot be an

abuse of process unless the defendants in the new action have a sufficient identity with the


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defendants in the original action: see Aldi Stores Ltd v. WSP Group plc [2008] 1 WLR 748 at

[10].

        123.   The central allegation in the Proofs of Claim in the Bankruptcy Court was that

the Impugned Transactions constituted transactions at an undervalue (in the sense used in

both Sections 238 and 423). I believe that following the voluntary withdrawal of the claims

made in the Proofs of Claim “with prejudice”, any attempt by the Joint Liquidators to bring a

Section 423 claim in the English court would likely be treated by that court as an abuse of

process in the Henderson v. Henderson sense, because the transactions sought to be impugned

and underlying circumstances are the same.

        124.   If the commencement of Section 423 proceedings in England would constitute

an abuse if brought by the Joint Liquidators, I can see a strong argument that the

commencement of such proceedings would also constitute an abuse if brough t by the

Petitioner, given the significant degree of identification between the Joint Liquidators and the

Petitioner in the context of the 423 Claim. This is because:

        (a)    ‘Credit Suisse’ appears to have been funding the Joint Liquidators in relation

               to the Proofs of Claim (East 1 at [30]), presumably as it expected a benefit to

               accrue to it or its associated entities, from success in the claims made.

        (b)    In the normal course, given that GL is subject to a formal insolvency

               proceeding, the strong expectation would be that the Joint Liquidators would

               bring all relevant IA1986 claims in respect of the same set of transactions in

               the same forum in the same set of proceedings. That is the default position

               under Section 424 IA1986. Adopting the anomalous course of having the

               Petitioner bring a Section 423 claim in an English court may (without further

               explanation, and none is proffered by the Petitioner in Golding 1), be viewed

               as no more than a device to circumvent any difficulties which the Joint


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               Liquidators and the Petitioner anticipated might arise from the decision to

               assert (and/or then abandon) the claims made in the Proofs of Claim in the

               Bankruptcy Court, after that court had ruled that the JL’s 238 Claim could not

               be brought against the Katerra entities in England.

       (c)     The suspicion identified above is, in my opinion, corroborated by the sequence

               and close coincidence of timing between: (i) the letter from the Respondent’s

               English solicitors dated 19 January 2022, asking for an explanation as to why

               the Petitioner should be granted leave to bring the 423 Claim in circumstances

               where the Joint Liquidators were “already pursuing a substantially identical

               claim on behalf of all creditors under s 238 in the Texas proceedings …”; and

               (ii) the Joint Liquidators’ abandonment of all the claims made in the Proofs of

               Claim (on 24 January 2022).

       125.    Further, at least one of the Petitioner’s proposed SoftBank Defendants sought

to become a party to the claims asserted in the Proofs of Claim, for the purpose of opposing

them before the Bankruptcy Court. Thus, SBIA US, as representative of SVF II Abode and

SVF II Holdings, applied to join the claim (East 1 [34]), and SVF II Abode had earlier not

contested the Bankruptcy Court’s jurisdiction East 1 [29].

       (iii) Conclusion on Gateway 2

       126.    In my opinion the information provided in Golding 1 would not be sufficient

to persuade the English court that the requirements of Gateway 2 are satisfied, and I believe

that there is a real possibility that the Petitioner would not, in any event, be able to satisfy

those requirements in light of the issues discussed above.




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D.   CONCLUSION ON THE GRANT OF LEAVE TO BRING THE CS 423 CLAIM


        127.    For the reasons explained above and based on the materials that I have

reviewed, it is my opinion that the Petitioner is highly unlikely to obtain leave from the

English court to bring the 423 Claim, as I do not believe that it will be able to demonstrate

that it has a realistic prospect of establishing that the relevant transactions come within the

scope of Section 423 and/or that GL had the necessary state of mind and/or that the Petitioner

is a victim of the transaction.

        128.    It is also my opinion: (a) that there is a real possibility that the Petitioner

would not be able to satisfy the requirements of Gateway 2; and (b) that it would not be able

to satisfy those requirements on the basis of the information provided to date in Golding 1

and/or the LBA.



         VI.     QUESTION 2 - IF THE PETITIONER WERE TO BE GRANTED 423

                 LEAVE, WOULD IT BE GRANTED LEAVE TO SERVE OUT?


A. THE LAW ON SERVICE OUT

        129.    All the proposed SoftBank Defendants in this case are domiciled outside

England and Wales. If leave is granted to the Petitioner to bring the 423 Claim, it would also

need to obtain permission to serve that claim on the SoftBank Defendants out of the

jurisdiction of the English court (“Service Out”) in order to establish the English court’s in

personam jurisdiction over them. As with 423 Leave, the grant of Leave to Serve Out is not

in any sense a mere formality. The Court must and will examine the proposed claim critically

in order to satisfy itself that the case is a proper one for the exercise of the court’s

extraterritorial jurisdiction.




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         130.     Although there is a considerable body of case-law and academic learning on

the rules and principles that the English courts apply on Service Out applications, the

essential principles are well established: see generally Dicey, Morris & Collins on the

Conflict of Laws (15 th Ed.) Chapter 11, and the decision of the Privy Council in AK

Investment CJSC v. Kyrgyz Mobil Tel Ltd [2012] 1 W.L.R. 1804 at [71]. The application of

those principles to an application for service out of a Section 423 claim is also well-

established.

         131.     In order to obtain permission to Serve Out the 423 Claim, each of the

following four conditions will need to be satisfied:

         (a)      the claim comes within one or more of the ‘gateways’ in CPR Practice

                  Direction 6B, paragraph 3.1: see CPR Rule 6.36 (“Limb A”);

         (b)      there is a serious issue to be tried on the merits (“Limb B”);

         (c)      as the Petitioner is seeking to rely on the extraterritorial effect of Section 423,

                  there is a “sufficient connection” between the defendants and England and

                  Wales16 (“Limb C”).

         (d)      England is clearly or distinctly the appropriate forum for the trial of the

                  dispute, and that in all the circumstances the court ought to exercise its

                  discretion to permit service of the proceedings out of the jurisdiction: see CPR

                  Rule 6.37(3) (“Limb D”).




16
     See Orexim Trading Ltd v. Mahavir Port and Terminal Private Ltd [2018] 1 W.L.R. 4847.



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B. LIMB A: GATEWAY

        132.     Despite earlier uncertainty, it is now clear that a Section 423 claim does come

within one of the gateways specified for service out. 17 The Petitioner will, therefore, have no

difficulty satisfying Limb A above.



C. LIMB B: SERIOUS ISSUE TO BE TRIED

        133.     The English court will consider whether the 423 Claim raises a serious issue to

be tried:

        “It is accordingly necessary to consider in the present case whether there
        is a more than fanciful prospect that the Bank would, if permitted to
        pursue a claim under Section 423 , obtain such relief at trial”

(see Erste Group Bank AG (London) v. JSC (VMZ Red October) [2015] EWCA Civ 379,

[2015] 1 C.L.C. 706 (“Erste CA”) at [119]). This requires the court to identify precisely what

relief is sought under Section 423, and to consider the circumstances of the case as revealed

by the evidence: see Erste CA at [118].

        134.     I have already explained the difficulty the Petitioner would have surmounting

Gateway 1 in relation to 423 Leave. As there is likely to be a significant overlap between the

court’s approach in relation to the test applicable to Gateway 1, and the test to be applied on

Limb B of the Leave to Serve Out test, the Petitioner will suffer the same difficulties on the

Service Out application (i.e. because it does not have a realistic prospect of establishing that

the Improper / Impugned Transactions come within the scope of Section 423 and/or that GL

had the necessary state of mind and/or that the Petitioner is a victim of the transactions).

        135.     It follows that I consider the question that I have been asked to opine on (If the

Petitioner obtains 423 Leave, will it also obtain Service Out Leave?) to be hypothetical.

17
     See Orexim Trading Ltd.



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Nonetheless, for completeness, I consider the prospects of Leave to Serve Out being granted

if the Petitioner were successful in obtaining 423 Leave. This requires a consideration of

Limbs C and D.



D. LIMB C: SUFFICIENT CONNECTION

       136.    The requirement that there be a sufficient connection between the defendants

and England and Wales is a particular feature of Section 423 claims (and Section 238 claims)

which does not apply generally: Orexim [54]. In In re Paramount Airways Ltd [1993] Ch 223,

the leading case on the extraterritorial application of the IA1986 transaction avoidance

provisions, the permission to serve out stage was identified as being a “safeguard” built into

the statutory scheme: see at p. 241, and see also Erste CA at [119]. The purpose of the

“sufficient connection” requirement is to ensure that the potentially exorbitant nature of the

English court’s jurisdiction is kept within acceptable bounds:

       “the breadth of the potential scope of Section 423 makes it all the more
       important that in a case with a foreign element the court is scrupulous to
       ensure that the safeguards are rigorously applied”

- see Orexim at [55] and see also Paramount Airways at p. 240.

       137.    In considering sufficient connection, the English court will start by having

regard to the standard factors set out in Re Paramount Airways:

       “Thus in considering whether there is a sufficient connection with this
       country the court will look at all the circumstances, including the residence
       and place of business of the defendant, his connection with the insolvent, the
       nature and purpose of the transaction being impugned, the nature and
       locality of the property involved, the circumstances in which the defendant
       became involved in the transaction or received a benefit from it or acquired
       the property in question, whether the defendant acted in good faith, and
       whether under any relevant foreign law the defendant acquired an
       unimpeachable title free from any claims even if the insolvent had been

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         adjudged bankrupt or wound up locally. The importance to be attached to
         these factors will vary from case to case. By taking into account and weighing
         these and any other relevant circumstances, the court will ensure that it does
         not seek to exercise oppressively or unreasonably the very wide jurisdiction
         conferred by the Sections.”
         138.   That list of factors is non-exhaustive. The court has to look at all the relevant

circumstances of the case to ensure that “it does not seek to exercise oppressively or

unreasonably the very wide jurisdiction conferred by the Sections”: see Suppipat v.

Narongdej [2020] EWHC 3191 (Comm) at [72]. In cases where the standard Paramount

factors are not present, the court has attached particular significance to whether the

prospective defendant is subject to litigation in England apart from the intended avoidance

claim. Therefore, in those cases, the Section 423 claim in question was not a “free standing

claim”: see Suppiat at [74]-[75] and Jyske Bank (Gibraltar) Ltd v. Spjeldnaes (No.2) [2000]

B.C.C. 16.

         139.   In Erste CA, the Court of Appeal set aside an order for service out of a Section

423 claim on the basis, inter alia, of an insufficient connection with England. The court had

regard to parallel proceedings in Russia, observing that each of the relevant transaction s had

been “the subject of review by the Russian court. Some of them have already been set aside,

and others have been specifically approved”: see at [122]. Moreover, in circumstances where

two of the defendants were also in insolvencies within the jurisdiction of the Russian courts,

it was “inconceivable” that the claimant would be able to show at trial that there was a

sufficient connection: see at [123]-[124]. The Court of Appeal also held that if the applicant

cannot show a serious issue to be tried including, significantly, as to whether “ any practicable

relief could be obtained at trial”, permission to serve out will be refused: see Erste CA at

[126].




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       140.    In Orexim at [59], the Court of Appeal upheld the judge’s decision to refuse

permission to serve out a Section 423 claim on different grounds, which included an

insufficient connection with England:

       “None of the protagonists are incorporated in England and Wales. None of them
       carry on business here. There is no evidence that any of the defendants has any
       assets here. Nor is there evidence that Orexim has any assets here; or that any
       loss would be suffered in England and Wales. The vessel has never been flagged
       in this jurisdiction. There is no evidence that she has ever entered territorial
       waters. The impugned transactions all took place outside the jurisdiction,
       between foreign corporations. ’Zen's purchase of the vessel was financed by an
       Indian finance house. All the impugned transactions were governed by the law of
       Singapore. They took place before the making of the settlement agreement, which
       is the foundation of Orexim's assertion that there is sufficient connection with
       England and Wales. It is not suggested that those dates were manufactured …At
       the time when the transactions took place there was no connection with England
       and Wales at all.”
       141.    Based on the material presented by the Petitioner on its 1782 Application (in

particular Golding 1 and the exhibited correspondence with the Petitioner and its affiliates), it

is in my view unlikely that the Petitioner would be able to satisfy the sufficient connection

requirement in this case.

       142.    I turn first to the Paramount factors. These point away from England:

       (a)     none of the SoftBank Defendants are incorporated in England;

       (b)     the Petitioner, the alleged “victim”, is a Luxembourg fund;

       (c)     the Katerra entities are either incorporated in the Cayman Islands or in the

               United States;

       (d)     the CEA, which the Petitioner seeks to impugn, is governed by the laws of the

               State of New York (Clause 9(d));

       (e)     the Transfer Agreement, which the Petitioner also seeks to impugn, is

               governed by the laws of the State of Delaware (Clause 5.5);

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        (f)     the subject matter of the Transfer Agreement are the shares of Katerra

               Cayman which are, as a matter of English law, legally situated in the Cayman

               Islands;

        (g)    the Katerra entities are in Chapter 11 proceedings in the U.S;

        (h)    the Bankruptcy Court declined to lift the stay to permit the Joint Liquidators to

               bring a transaction at an undervalue claim in England; and

        (i)    the Withdrawal Order withdrawing the “Greensill Claims” with prejudice

               prevents any party “acting by, through, or under [GL]” from pursuing any

               claim against the Katerra entities in any foreign court.

        143.   In this case, the principal connection with England is the place of

incorporation of the “debtor” (i.e. GL). Whilst the Court will accord this factor some weight,

the debtor’s place of incorporation is not one of the standard Paramount factors the Court has

regard to, as these are concerned principally with the defendant’s connection with England.

        144.     The sufficient connection factors identified by the Petitioner in the LBA (at

[77(b)]) do not, in my view, outweigh the other countervailing factors identified above. I note

that of those factors: (a) five relate solely to the debtor’s connection with England and Wales

(i.e. factors (i), (ii), (iii), (iv), (ix)) but not that of the SoftBank Defendants; (b) two factors

relate to agreements which the Petitioner is not seeking to impugn in its 423 Claim (factor

(vi) and (vii)); (c) one factor (factor (viii)) does not seem to relate to sufficient connection at

all; and (d) none of the factors deal with the practicability of the relief sought in light of Erste

CA.

        145.   Looking beyond the Paramount factors, the 423 Claim is a “free-standing”

claim, which does not engage the further factors set out in Suppipat at [74]-[75].

        146.   When viewed in the round, the connections with England in this case appear to

me to be very limited. In view of this, it is my opinion that the Petitioner is unlikely to be able


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to satisfy the “sufficient connection” aspect of the test to serve the 423 Claim out of the

jurisdiction.

       147.     Moreover, as was the position in Erste CA (see also Trustee in Bankruptcy of

Claridge v. Claridge), the English court would, in my view, struggle to identify any

practicable relief which it could grant to restore the position to what it would have been if the

Improper or Impugned Transactions had not been entered into (that being the only relief

which, in my view, is open to the Petitioner in this case having regard to Section 423(2) ), in

circumstances where: (a) GL and the Joint Liquidators have participated in the Texas Action ;

(b) the Plan has been confirmed; (c) the effect of the Plan is, inter alia, to render worthless the

shares in Katerra Cayman transferred to SVF II Abode pursuant to the Transfer Agreement;

and (d) any order of the English court purporting to unwind the Improper or Impugned

Transactions would, accordingly, almost inevitably conflict with the Plan. The lack of

practicable relief constitutes a further basis on which the English court would be likely to

refuse Leave to Serve Out.

E. LIMB D: APPROPRIATE FORUM

       148.     At the next stage, the burden is on the Petitioner to persuade the Court that

England is “clearly” the appropriate forum: see Orexim at [63] and Spiliada Maritime Corpn

v. Cansulex Ltd [1987] AC 460.

       149.     Whilst there is an element of overlap between the sufficient connection factors

set out above and the question of whether England is clearly the appropriate forum (see

Orexim at [50]), when considering the latter the court should stand back and ask itself “where

the fundamental focus of the litigation was to be found ”: see Erste CA at [149]. In my

opinion, the Petitioner’s suggestion that Limb D and Limb C are completely co-extensive

(LBA [77(c)]) is incorrect. They are two related, but analytically distinct, components of the

Leave to Serve Out test.


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         150.     Thus, although the question of appropriate forum is an important issue, it is

one which has not been addressed at all in Golding 1 or in the LBA (save for the comment at

[77(c)]). Given that the burden lies on the Petitioner to show that England is clearly the

appropriate forum and that the LBA is clearly intended to put the Petitioner’s most persuasive

case forward, for the reasons explained below, it is by no means obvious to me that the

English court is clearly the appropriate forum.

         151.     I consider the Texas Action to be highly relevant in relation to the question of

appropriate forum, particularly where it appears to have been accepted in the Bankruptcy

Court, that that court was in a position both to try and grant relief in respect of avoidance

claims under IA1986 within those Chapter 11 proceedings.

         152.     Katerra is a party, inter alia, to the CEA, and the relief sought in the now

abandoned JL 238 Claim was an unwinding of the CEA in order to re-establish GL’s interests

under it. As discussed above, the Bankruptcy Court’s denial of GL’s application to lift the

automatic stay in respect of Katerra to proceed with that claim in England, raises a doubt as

to the effectiveness of any Section 423 relief which the English court is able to grant, in

circumstances where the Plan has been confirmed and there is no suggestion that it is to be

joined as a party to the 423 Claim.

         153.     I believe this doubt to be confirmed by the Joint Liquidators’ initial decision to

mount the JL 238 Claim and the JL 423 Claim in the Bankruptcy Court, and by their stated

intention not to execute any judgment in England but to “return to [the Bankruptcy Court] for

distributions” in the event that the JL English 238 Claim succeeded. 18 In my opinion, this

constitutes a clear recognition that the Bankruptcy Court was the only forum in which GL




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     GL’s motion to lift automatic stay, paragraph 1; see also paragraphs 6, 10, 36 and 46 (Exhibit 25 to East 1).



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might (in theory) have obtained effective relief in respect of the Improper / Impugned

Transactions.

         154.    For these reasons, it seems to me that it is by no means obvious that the

Petitioner will satisfy the court that England is clearly the appropriate forum for the 423

Claim.



          VII. QUESTION 3 - DOES THE PETITIONER NEED THE REQUESTED

               DOCUMENTS TO COMMENCE OR PLEAD THE 423 CLAIM?



         155.    Finally, I am asked to consider whether the documents sought pursuant to the

1782 Application are strictly necessary to bring the 423 Claim, and in particular to produce a

sufficiently particularised claim.

         156.    The eight categories sought by the Petitioner are listed in Exhibit A to the

Petitioner’s Subpoena (Exhibit 41 to East 1). I note that:

         (a)     partially overlapping categories of documents were very recently requested

                 from the SoftBank Defendants in the LBA (at [80]), which appears to evidence

                 a belief that these materials will become available as part of the normal

                 English litigation process; and

         (b)     the LBA does not suggest that pre-action discovery of the classes of

                 documents set out in the LBA is necessary to enable the Petitioner to plead a

                 viable 423 Claim.

         157.    The Petitioner seeks disclosure from SBIA US on the basis that the categories

will be relevant to the “English court’s consideration of the form of relief it grants pursuant to

the Section 423 claim”, pointing to the case of 4Eng Ltd v. Harper [2009] EWHC 2633 (Ch)




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at [13]-[14]. The 4Eng Ltd decision was followed subsequently, on the relevance of the

transferee’s mental state to appropriate relief, in BTI v. Sequana at [523].

       158.     The starting point is that it is necessary to plead only the constituent elements

of a Section 423 claim. In particular, it is necessary for the claimant clearly to identify the

“transaction” being challenged: a failure properly to do so was criticised in Hellard v.

Graiseley Investments Ltd [2018] EWHC 2664 (Ch) at [64].

       159.     In establishing an entitlement to Section 423 relief, it is only the debtor’s state

of mind which is a constituent element of the cause of action and which is relevant to

engaging the discretionary jurisdiction to grant relief under Section 423(2): see Delaney v.

Chan at [28] and BTI Sequana at [67]. This proposition appears to be recognised (correctly)

by Golding 1 at [68(b)].

       160.     Although a defendant’s state of mind may be relevant at the later stage at

which the English court decides on the nature of the relief to be granted (see 4Eng Ltd at

[13]-[14] and BTI v. Sequana at [523]), the court’s discretionary jurisdiction to grant relief

under Section 423(2) and 425(1) only arises after the claimant has established the elements of

the statutory Section 423 cause of action described above, principally: undervalue, GL’s

purpose and the Petitioner’s status as a victim. The defendant’s state of mind does not play

any part in the question whether the Petitioner will be able to satisfy these gateway

requirements.

       161.     The court would only proceed to consider the appropriate remedy (which is

where the SoftBank Defendants’ state of mind may be relevant) once the Petitioner had

established liability on the SoftBank Defendants’ part. It may well decide to do that at a

separate hearing (potentially with separate evidence and pleadings) as it did in BTI 2014 LLC

v. Sequana, in which the subsequent judgment on relief is separately reported at [2017]

EWHC 211 (Ch).


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         162.   As a matter of English law: “It has always been a cardinal principle of

pleading…that a claim should not anticipate a defence (popularly known as ‘jumping the

stile’)” (Blackstone’s Civil Practice 2022 at [27.2]). In my view, seeking to plead the

SoftBank Defendants’ state of mind, where that does not form part of the statutory cause of

action, would be a classic example of ‘jumping the stile’.

163.            Accordingly, since it is not necessary for the Petitioner to plead the SoftBank

Defendants’ state of mind in order to formulate or plead a viable Section 423 claim, in my

opinion the Petitioner equally does not require access to such of the documents as relate only

to the SoftBank Defendants’ state of mind in order to commence the threatened 243 Claim.



         I declare under penalty of perjury pursuant to 28 U.S.C. § 1746 under the laws of the

United States that the foregoing is true and correct.

Executed on February 18, 2022
in London, England




                                                        ______________________________
                                                        Richard Daniel Hacker Q.C




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